
870 P.2d 824 (1994)
318 Or. 579
James and Gloria SIMPSON, Appellants,
v.
DEPARTMENT OF REVENUE, State of Oregon, Respondent.
OTC 3302; SC S40384.
Supreme Court of Oregon, In Banc.
Argued and Submitted March 9, 1994.
Decided April 7, 1994.
*825 Thomas H. Lowrey, Lake Oswego, argued the cause and filed the brief for appellants.
Robert M. Atkinson, Asst. Atty. Gen., Salem, argued the cause for respondent. With him on the response were Theodore R. Kulongoski, Atty. Gen., and Virginia L. Linder, Sol. Gen., Salem.
PER CURIAM.
Taxpayers claim that Oregon's taxation of retirement benefits paid by the State of Alaska is unconstitutional, because Oregon exempts its own public retirees' retirement benefits from income tax. Respondent Department of Revenue denied appellants' refund claims for 1985 through 1990. Taxpayers timely appealed to the Oregon Tax Court, which entered a judgment sustaining the department's opinion and order. Appellants appealed to this court. On de novo review, ORS 305.445, we agree with the conclusion of the Tax Court that taxpayers have not advanced any viable legal basis supporting their contentions. Accordingly, we affirm the judgment of the Tax Court.
The judgment of the Tax Court is affirmed.
